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     Attorney for Defendant
 5
     JESSICA CORRO
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:15-CR-140 MCE
12
                    Plaintiff,
13
     vs.                                                WAIVER OF PERSONAL APPEARANCE
14                                                      AND ORDER
15   JESSICA CORRO,

16                  Defendant.
17

18

19

20

21          Jessica Corro, defendant in the above-entitled action, hereby waives her right to be

22   present in open court as provided in Rule 43 of the Federal Rules of Criminal Procedure for any
23
     status conference or motion hearing in this matter. The appearance waiver includes any
24
     appearance involving a continuance either before or after trial, including a hearing at which a
25
     trial date is selected. The waiver does not extend to arraignment, entry of plea, change of plea,
26

27   or any trial stage from impanelling a jury to verdict, nor does it apply to imposition of sentence.

28   WAIVER OF APPEARANCE
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 1          The defendant requests that the Court proceed during every permitted absence as set out
 2
     in the preceding paragraph. Defendant agrees that her interests will be deemed represented at all
 3
     times by the presence of her attorney in the same manner as if she were personally present in
 4
     court. She further agrees that she will be present in court and ready for trial of the matter on any
 5

 6   day or hour that the Court may fix in her absence.

 7          Defendant acknowledges that she has been informed of her rights under the Speedy Trial
 8
     Act (Title 18, United States Code, Sections 3161-3174). Defendant expressly authorizes her
 9
     attorney to set dates, including permissible delays and continuances pursuant to the Speedy Trial
10
     Act, without the requirement of her being personally present.
11

12   DATED: June 27, 2018
                                                           By      /s/ Jessica Corro
13                                                                 JESSICA CORRO
                                                                   Defendant
14

15          I agree with and consent to Defendant Jessica Corro’s waiver of personal appearance at

16   future proceedings.
17

18   DATED: June 27, 2018
                                                           By      /s/ Todd D. Leras
19                                                                 TODD D. LERAS
                                                                   Attorney for Defendant
20
                                                                   JESSICA CORRO
21

22          IT IS SO ORDERED.
23
     Dated: June 28, 2018
24

25

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27

28   WAIVER OF APPEARANCE
